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5
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6

7

8                                        UNITED STATES DISTRICT COURT
9                                      CENTRAL DISTRICT OF CALIFORNIA
10

11   ANA GUARDADO,                     )                                      CASE NUMBER: 2:22-cv-05515
12
                                       )
               PLAINTIFF,              )                                      PLAINTIFF ANA GUARDADO’S
13
                                       )                                      COMPLAINT FOR DAMAGES
14   VS.                               )
                                       )                                      1. NEGLIGENCE
15
     UNITED STATES OF AMERICA,         )                                         [DANGEROUS CONDITION
16   TRANSPORTATION SECURITY           )                                         OF PUBLIC PROPERTY];
17
     ADMINISTRATION (TSA),             )
     A DIVISION OF HOMELAND            )                                      2. PREMISES LIABILITY
18   SECURITY, CITY AND COUNTY         )                                         [DANGEROUS CONDITION
19   OF DENVER, DBA DENVER             )                                         OF PUBLIC PROPERTY].
     INTERNATIONAL AIRPORT,            )                                         __________________________
20
                                       )
21             DEFENDANTS.             )                                           DEMAND FOR JURY TRIAL
22
                                       )                                           __________________________
     _________________________________ )
23

24            Plaintiff Ana Guardado, files her Complaint for Damages and Demand for Jury
25   Trial wherein she alleges as follows:
26                                      BRIEF STATEMENT OF THE CASE
27            1.        This is a tort, negligence and premises liability, dangerous condition of
28   public property action brought by business invitee plaintiff Ana Guardado, age 54,

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1    against defendants based upon defendants’ prior notice and/or knowledge of a
2    dangerous condition of public property within the Denver International Airport, Elrey
3    B. Jeppersen Terminal (“DIA”), including the second Transportation Security
4    Administration (“TSA”) Checkpoint screening area, where TSA Transportation
5    Security Officers (“TSOs”) controlled, monitored, supervised, secured, protected,
6    processed 59,000,000 annual DIA travelers through the various TSA Security
7    Checkpoints.
8             2.        On August 8, 2021, plaintiff Ana Guardado, age 54, arrived at the Denver
9    International Airport at approximately 6:30 p.m. prior to her scheduled 9:25 p.m.
10   departure. Guardado passed through the first TSA Security Checkpoint, where she was
11   directed to the second TSA Security Checkpoint. TSA Security Officers directed
12   Guardado to remove her shoes, went through the full-body scanner, put on her shoes,
13   then waited for her single carry-on luggage to pass through the luggage screener. Due
14   to the high-volume of travelers, Transportation Security Officers repeatedly urged
15   travelers, including Guardado, to “ ... hurry it up ... move it along ... keep the line
16   moving ... you have a lot of people behind you.” After Guardado’s single carry-on
17   luggage passed through the screener, Guardado grabbed her luggage, set the rollers on
18   the ground, raised the luggage handle, turned, took one step, then two steps, when she
19   suddenly fell forward in the TSA Security Checkpoint area, landed on her right knee,
20   then left knee, then planted her face directly into the improperly constructed, installed,
21   inspected and maintained terrazzo floor surface, which was covered by the improperly
22   installed, inspected and maintained floor covering, which concealed the defective floor
23   surface and/or caused Guardado to trip and fall which resulted in a serious and
24   permanent lower extremity, closed head, traumatic brain injury and related injuries.
25                                                JURISDICTION, VENUE
26            3.        Subject Matter Jurisdiction. This action was brought pursuant to the
27   Federal Torts Claims Act (FTCA) and 28 U.S.C. §2671, an action in tort for personal
28   injuries suffered by plaintiff Guardado which were caused by the negligent acts and

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1    omissions of defendants, their agents and employees.
2             4.        Pursuant to the FTCA, the Government’s sovereign immunity to civil suits
3    seeking money damages was waived “for injury or loss of property, or personal injury
4    or death caused by the negligent or wrongful act or omission of anu employees of the
5    Government while acting within the course and scope of their employment, under
6    circumstances where the United States, if a private person, would be liable to the
7    claimant in accordance with the law of the place where the act or omission occurred.”
8    28 U.S.C. §2672; 28 U.S.C. §1346(b)(1).
9             5.        The FTCA provides the basis for liability of the federal government,
10   including departments and agencies, for such negligence. 28 U.S.C. §1346(b)(1);
11   29 U.S.C. §2674.
12            6.        Venue. Venue is proper in the United States District Court, Central
13   District of California, pursuant to 28 U.S.C. §1391(b)(2); 28 U.S.C. §1391(e).
14                                                             PARTIES
15            7.        Plaintiff Ana Guardado, age 54, is a resident of the City of Los Angeles,
16   Los Angeles County, State of California.
17            8.        Defendant United States of America, is a sovereign nation and exists under
18   the Constitution and the laws enacted by the United States Congress. The Department
19   of Homeland Security has a component identified as the Transportation Security
20   Administration (“TSA”), thus defendant United States of America has authority over
21   TSA’s practices and policies who was responsible for ensuring compliance with all
22   legal requirements regarding security services, traveler and luggage screening, airport
23   crowd control provided at the Denver International Airport, located at 8500 Pena
24   Boulevard, Denver, Colorado 80249. At all times herein TSA was an agency of
25   defendant United States of America, organized and existing under the laws of the
26   United States of America and the United States Constitution.
27            9.        Defendant City and County of Denver, dba Denver International Airport
28   (“DIA”), had its principal place of business located at 8500 Pena Boulevard, Denver,

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1    Colorado 80249. The Denver International Airport (“DIA”) had an estimated 35,000
2    employees, considered the third busiest airport in the world, considered the third busiest
3    airport in the United States by volume of passenger traffic, with an estimated annual
4    traveler traffic of 59,000,000. Defendants City and County of Denver owned, operated,
5    constructed, supervised and maintained Denver International Airport, who was
6    responsible for the construction, maintenance and inspection of the DIA property and
7    premises, including all pedestrian traveler walkways, floors and floor covering located
8    within the DIA, including the walkways, floor, floor covering at issue in this case.
9                                                 STATEMENT OF FACTS
10                              APPLICABLE TO ALL CAUSES OF ACTION
11            10.       Business Invitee Guardado. On Sunday, August 8, 2021, Ana Guardado,
12   age 54, was a business invitee, a traveler at the Denver International Airport property
13   and premises. Previously, Guardado flew from Los Angeles, California, to Denver,
14   Colorado, to visit her adult son, a United States Army Sergeant, stationed at the nearby
15   Fort Carson Army base, prior to his deployment to the Al Asad Airbase, an Iraqi
16   Armed Forces and United States Armed Forces base located on Al Anbar Governorate
17   (province) located in Western Iraq. On August 8, 2021, Guardado arrived at the
18   Denver International Airport at approximately 6:30 p.m., which was approximately
19   3-hours prior to her 9:25 p.m. scheduled departure for her return trip to Los Angeles,
20   California.
21            11.       Lengthy TSA Security Checkpoint Lines. Sunday, August 8, 2021, was
22   an extremely busy, high-volume, air travel day at the Denver International Airport.
23   Guardado spent a significant time in the two separate TSA Security Checkpoint lines
24   due to the high-volume of DIA travelers due to the grossly understaffed, mismanaged,
25   untrained TSA Security Officers who were unable to promptly process the
26   disproportionate high-volume of travelers through the TSA Security Checkpoints
27   without significant delay.
28


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1             12.       TSA Transportation Security Officers Hurried, Rushed Guardado.
2    TSA Transportation Security Officers rushed DIA travelers, including Guardado to the
3    first TAS Security Checkpoint. In loud voices, TSA Security Officers told the lengthy
4    line of travelers to, “ … hurry it up ... move it along ... keep the line moving ... you have
5    a lot of people behind you.” Guardado eventually proceeded to the first TSA Security
6    Checkpoint. After Guardado showed her identification and departure boarding pass
7    ticket, TSA Security Officers directed Guardado to the second TSA Security
8    Checkpoint line, for her full-body screening, as well as the luggage screening of her
9    single carry-on luggage.
10            After another lengthy delay, Guardado proceeded to the second TSA Security
11   Checkpoint. Guardado was ordered by TSA Security Officers to remove her shoes,
12   which were passed through the luggage screener. Guardado was screened by the TSA
13   full-body screening device. On the other side of the luggage screening device,
14   Guardado put on her shoes. Guardado waited for her single carry-on luggage to be
15   screened. Again, TSA Transportation Security Officers hurried and rushed Guardado
16   when they instructed her to, “ … hurry it up ... move it along ... keep the line moving ...
17   you have a lot of people behind you.” The tone and attitude of these TSA Security
18   Officers insinuated DIA travelers (business invitees), including Guardado, caused the
19   lengthy traveler and luggage screening delays, the long lines. Guardado heard these
20   TSA Security Officers make these statement to rush DIA travelers through the second
21   TSA Security Checkpoint on more than one occasion as she waited for her luggage to
22   be screened. It appeared the TSA’s understaffed, mismanaged, untrained TSA
23   Officers, agents and employees were responsible for the extraordinary length of the
24   DIA traveler lines, not the DIA travelers.
25            13.       Understaffed, Mismanaged, Untrained TSA Officers, Officers,
26   Employees. It was the TSA’s understaffed, mismanaged and untrained TSA Security
27   Officers, agents and employees, in the face of this high-volume of DIA travelers who
28   caused the extraordinary lengthy lines, the extraordinary lengthy traveler delays. The

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1    understaffed, mismanaged, untrained TSA Security Officers were unable to promptly
2    process the disproportionate high-volume of travelers. The negative tone, the negative
3    attitude of the understaffed, mismanaged and untrained TSA Security Officers towards
4    the DIA travelers, their rush of DIA travelers through the screening checkpoint,
5    including Guardado, was not necessary, not warranted had the TSA been properly
6    staffed, managed and trained to process this high-volume of travelers.
7             14.       Dangerous Condition of Public Property. After Guardado’s single
8    carry-on luggage passed through the screener, Guardado grabbed her luggage, set the
9    rollers on the ground, raised the luggage handle, turned, took one step, then two steps,
10   when she suddenly fell forward in the TSA Security Checkpoint area, landed on her
11   right knee, then left knee, then planted her face directly into the improperly constructed,
12   installed, inspected and maintained terrazzo floor surface, which was covered by the
13   improperly installed, inspected and maintained floor covering, which concealed the
14   defective floor surface and/or which caused Guardado to trip and fall which resulted in
15   a serious and permanent lower extremity, closed head, traumatic brain injury and
16   related injuries.
17            15.       The force of Guardado’s facial impact into the covered terrazzo floor
18   surface caused Guardado to momentarily lose consciousness. Stunned, Guardado laid
19   on the ground in pain. Multiple defendant agents and employees approached Guardado
20   and began to film the visibly dazed, stunned Guardado on the ground. With their
21   iphones video recording devices, couple with their overhead surveillance cameras,
22   multiple agents and employees asked Guardado if she needed help to get up, asked if
23   she needed medical assistance, repeatedly asked her, “Are you running late for your
24   flight. Are you late for your flight?” These comments were highly offensive and
25   inappropriate, their effort to try to solicit some sort of liability admission of guilt from
26   the visibly bewildered, dazed, confused and injured Guardado, to try to get Guardado to
27   implicate herself for causing her own sudden fall, her own serious injuries because “she
28   was in a hurry,” with no sincere concern for Guardado’s health and well-being.

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1    Guardado was not running late. Guardado was rushed by TSA Security Officer through
2    the security checkpoint. It was defendant DIA who improperly installed, inspected,
3    maintained the terrazzo floor surface, which was covered by the improperly installed,
4    inspected and maintained floor covering, which concealed the defective floor surface
5    and/or which caused Guardado to trip and fall which resulted in a serious and
6    permanent lower extremity, closed head, traumatic brain injury and related injuries.
7    It was defendant TSA who was understaffed, mismanaged, untrained to process this
8    high-volume of DIA travelers through the second TSA Security Checkpoint, as
9    evidenced by the extraordinary length of the DIA travelers lines.
10            16.       The visibly stunned, dazed Guardado told TSA Security Officers she was
11   not feeling well. Guardado told TSA Security Officers she arrived at the DIA at least
12   3-hours early, that her flight was not for another 2-hours. Guardado dispelled any
13   notion she caused her own fall, her own injuries because she was “rushing because she
14   was late for her flight.” Dazed and in extreme pain, Guardado slowly stood up, slowly
15   limped over to a nearby pedestrian bench, where she sat down and to collect her
16   composure. The dazed, injured Guardado eventually gathered herself and slowly
17   headed towards her departure gate.
18            17.       At all relevant times herein Guardado acted reasonably under the
19   circumstances, as directed by TSA Security Officers at the Denver International
20   Airport, who was not comparatively at fault. Guardado did not suffer from any pre-
21   existing physical or emotional condition which caused and/or contributed to her August
22   8, 2021 fall and resultant serious and permanent injuries.
23            18.       DIA Flooring, Floor Covering. The DIA’s flooring surface had the
24   appearance of a marble, granite-like surface which covered the concrete floor surface at
25   the second TSA Security Checkpoint area, which appeared to be a terrazzo flooring,
26   i.e., a marble, quartz, glass or other suitable chips, sprinkled or unsprinkled, then
27   poured with a binder that bonds to the concrete floor surface, which was supposed to be
28   cured, ground and polished to a smooth surface or otherwise finished to produce a

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1    uniformly textured surface. The DIA floor surface included complex shapes, patterns.
2             19.       DIA’s Negligently Constructed, Installed, Prepared, Maintained Floor
3    Surface, Floor Covering. On August 8, 2021, the DIA floor surface and floor
4    covering at the second TSA Security Checkpoint area was an improperly constructed,
5    installed, inspected and maintained defective terrazzo floor surface, which was covered
6    by the improperly installed, inspected and maintained floor covering, which concealed
7    the defective floor surface and/or which caused Guardado to trip and fall which resulted
8    in a serious and permanent lower extremity, closed head, traumatic brain injury and
9    related injuries.
10            20.       TSA’s Negligently Understaffed, Mismanaged, Untrained Security.
11   On August 8, 2021, TSA was understaffed, mismanaged and untrained to be able to
12   promptly process high volume of DIA travelers, which produced significantly lengthy
13   traveler lines. Due to TSA’s understaffing, mismanaged and untrained workforce at
14   DIA, the TSA Security Officers, in their hostile, negative tone, demeanor and attitude
15   during the screening process, hurried, rushed DIA travelers, including Guardado, to “
16   … hurry it up ... move it along ... keep the line moving ... you have a lot of people
17   behind you,” which combined with the floor surface and the floor surface covering
18   which caused a dangerous condition of public property which cause her to suddenly trip
19   and fall at the second TSA Checkpoint screening area, which constituted an
20   unreasonably dangerous condition of public property, a significant risk to the health
21   and safety for those DIA travelers expected to use the walkway and walking surface,
22   including Guardado.
23            21.       Defendants’ Prior Notice, Knowledge of Dangerous Condition of
24   Public Property. Defendants DIA and TSA had prior notice of or in the exercise of
25   reasonable and ordinary care should have known of their floor, floor covering and
26   understaffing, mismanagement and untrained workforce was a dangerous condition of
27   public property. Defendant DIA should have remedy, repaired, removed or warned
28   travelers of their defective flooring and floor covering. Defendant TSA should have

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1    had additional, properly managed, properly trained Security Officers at the TSA
2    Security Checkpoint screening area to properly address the high-volume of traveler
3    traffic that Sunday evening. Defendants did not. Defendant DIA’s failure to use
4    reasonable and ordinary care to remedy, repair, remove or warn travelers of the
5    defective floor and floor covering was a dangerous condition of public property.
6    Defendant TSA’s failure to use reasonable and ordinary care when they rushed
7    travelers through the Security Checkpoints was a dangerous condition of public
8    property. Defendants’ dangerous condition of public property substantially and
9    proximately caused those serious and permanent injuries sustained by Guardado.
10   Guardado is informed and believes the floor covering has since been remedy, repaired
11   and/or removed to prevent future DIA travelers from sustaining the same or
12   substantially similar fall incident sustained by Guardado.
13            22.       Guardado’s Serious, Permanent Injuries. Guardado sustained serious
14   and permanent physical and emotional injuries which included but was not limited to
15   the following:
16                      (1)       sudden, violent, blow to right knee;
17                      (2)       right knee, contusion, bruising, swelling;
18                      (3)       right knee, probable internal derangement; still being assessed;
19                      (4)       right knee, contusion to femur, patella, tibia, anterior cruciate
20                                ligament, medial collateral ligament, patellar tendon ligament,
21                                due to violent blow;
22                      (5)       sudden, violent, blow to left knee;
23                      (6)       left knee, contusion, bruising, swelling;
24                      (7)       sudden, violent, blow to face, head, nasal bone, below glabella,
25                                below procerus (face plant); bruising, swelling;
26                      (8)       closed head trauma, concussion, traumatic brain injury (tbi);
27                      (9)       frontal cerebral coup (blow) injury (primary, initial impact,
28                                injury);

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1                       (10) occipital, cerebellum cerebral contrecoup (counter blow) injury,
2                                 brain collided (“ricocheting effect”) with back of skull (back-
3                                 and-forth, secondary impact, injury);
4                       (11) cerebral contusion; cerebral adhesions; cerebral swelling;
5                                 cerebral ischemia (reduction of blood flow);
6                       (12) brain impacted into dura, cerebral spinal fluid (CSF), causing
7                                 bruising, swelling (blood) between brain, dura, skull;
8                       (13) stretching, tearing of cerebral nerve fibers, throughout brain;
9                       (14) cerebral nerve fiber tears, blockage and/or chemical change
10                                which reduced blow flow and oxygenation of the brain cells;
11                      (15) cerebral nerve fiber tears, which causes microglial scarring,
12                                resulting in degeneration of the nerve processes distal to the site
13                                of the tears, negatively impacted brain function;
14                      (16) brief loss of consciousness;
15                      (17) feeling mentally “foggy,” “groggy,” “hazy,” “slow”;
16                      (18) dazed, stunned, startled, confused;
17                      (19) nausea;
18                      (20) difficulty breathing;
19                      (21) difficulty concentrating;
20                      (22) vertigo, dizziness, loss of balance, loss of coordination;
21                      (23) chronic, frequent headaches;
22                      (24) unnatural pressure in head;
23                      (25) sensitivity bright lights;
24                      (26) feeling tired, no energy, fatigue;
25                      (27) “does not feel right”;
26                      (28) emotional distress, anxiety, nervousness, worry;
27                      (29) post-traumatic stress disorder;
28                      (30) irritability.

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1             This list is not complete and remains subject to discovery in the underlying
2    action, as well as testimony and documentary evidence as may be presented to the court
3    at the time of jury trial.
4             23.       Guardado’s Claim for Damages. By this action, business invitee
5    Guardado seeks damages for her economic and noneconomic losses. The exact amount
6    of Guardado’s claim for medical expenses, past and future, lost earnings, past and
7    future, lost career, lost promotional opportunities, past and future, loss of retirement
8    benefits, past and future, loss of reputation, past and future, general damages, past and
9    future, as well as attorney’s fees, as permitted by law, which on May 19, 2022,
10   Guardado had previously identified in her Administrative Claim was the amount of
11   $5,000,000 (five million dollars), which will be shown according to proof at the time of
12   trial. Guardado reserves the right to amend this description of the defendants’ acts,
13   errors and omissions, as well as her damages, upon receipt of further information not
14   currently possessed or inadvertently omitted herein, according to proof.
15                                    ADMINISTRATIVE PREREQUISITES
16            24.       On January 31, 2022, plaintiff Guardado previously complied with her
17   pre-lawsuit administrative prerequisites pursuant to 28 U.S.C. §2671, et seq., of
18   Chapter 171, Title 28 of the United States Code, with the service of her Notice of Claim
19   Against Governmental Entity administrative claim pre-filing prerequisites. On March
20   2, 2022, the City and County of Denver issued a response which did not constitute a
21   “final decision” but sought additional information. On February 15, 2022, the
22   Transportation Security Administration acknowledged receipt of Guardado’s claim
23   submission, issued a response which did not constitute a “final decision” but sought
24   additional information. Moreover, on May 19, 2022, plaintiff Guardado served her
25   First Amended Notice of Claim Against Governmental Entity which included a
26   response to the additional information sought. On May 23, 2022, the Transportation
27   Security Administration acknowledged receipt of Guardado’s further submission, a
28   response which did not constitute a “final decision.” In plaintiff Guardado’s efforts to

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1    timely preserve her claims according to the statute of limitations applicable to her case,
2    she timely filed the instant Complaint for Damages and Demand for Jury Trial.
3                                    INCORPORATION OF ALLEGATIONS
4             25.       All of the allegations in each of the foregoing paragraphs are incorporated
5    herein by this reference as if fully set forth in each and every cause of action herein.
6                                               FIRST CAUSE OF ACTION
7                                                          NEGLIGENCE
8                         DANGEROUS CONDITION OF PUBLIC PROPERTY
9                                                 (As Against All Defendants)
10            26.       At all times relevant to the subject matter of this litigation, defendants City
11   and County of Denver (“CCD”) owned, constructed, installed, inspected, operated,
12   supervised and maintained the Denver International Airport (“DIA”). DIA was
13   responsible for the construction, installation, inspection and maintenance of the
14   premises and property, including floors, walkways, walkway surfaces and floor
15   coverings located within DIA, including the common walkway areas and walking
16   surfaces located at and near the second TSA Security Checkpoint, where the DIA
17   traveler full-body screening and carry-on luggage screening occurred.
18            27.       On August 8, 2021, defendant DIA owed a duty of due care to their
19   business invitees, including Guardado, to maintain the Denver International Airport
20   premises, including the common traveler walkway areas, walking surface areas and
21   floor coverings located at and near the second TSA Security Checkpoint station in a
22   reasonably safe condition, without unreasonably exposing them to an unreasonable,
23   dangerous threat and risk of harm to the traveler’s health and safety. When a public
24   entity provides public property for public use, it owes a non-delegable duty to protect
25   invitee from an unreasonable risk to their health and safety due to a negligent act or
26   omission in constructing or maintaining the public property. Defendants cannot
27   delegate this responsibility to another.
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1             28.       On August 8, 2021, defendant TSA owed a duty of due care to the DIA
2    business invitees, including Guardado, to reasonably and safely process DIA travelers
3    through their various TSA checkpoint, including the common traveler walkway areas,
4    walking surface areas and floor coverings located at and near the second TSA Security
5    Checkpoint station in a reasonably safe condition, without unreasonably exposing them
6    to an unreasonable, dangerous threat and risk of harm to the traveler’s health and
7    safety.
8             29.       Dangerous Condition of Public Property. After Guardado’s single
9    carry-on luggage passed through the screener, Guardado grabbed her luggage, set the
10   rollers on the ground, raised the luggage handle, turned, took one step, then two steps,
11   when she suddenly fell forward in the TSA Security Checkpoint area, landed on her
12   right knee, then left knee, then planted her face directly into the improperly constructed,
13   installed, inspected and maintained terrazzo floor surface, which was covered by the
14   improperly installed, inspected and maintained floor covering, which concealed the
15   defective floor surface and/or which caused Guardado to trip and fall which resulted in
16   a serious and permanent lower extremity, closed head, traumatic brain injury and
17   related injuries.
18            30.       DIA’s Negligently Constructed, Installed, Prepared, Maintained Floor
19   Surface, Floor Covering. On August 8, 2021, the DIA floor surface and floor
20   covering at the second TSA Security Checkpoint area was an improperly constructed,
21   installed, inspected and maintained defective terrazzo floor surface, which was covered
22   by the improperly installed, inspected and maintained floor covering, which concealed
23   the defective floor surface and/or which caused Guardado to trip and fall which resulted
24   in a serious and permanent lower extremity, closed head, traumatic brain injury and
25   related injuries.
26            31.       TSA’s Negligently Understaffed, Mismanaged, Untrained Security.
27   On August 8, 2021, TSA was understaffed, mismanaged and untrained to be able to
28   promptly process high volume of DIA travelers, which produced significantly lengthy

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1    traveler lines. Due to TSA’s understaffing, mismanaged and untrained workforce at
2    DIA, the TSA Security Officers, in their hostile, negative tone, demeanor and attitude
3    during the screening process, rushed DIA travelers, including Guardado, to “ … hurry
4    it up ... move it along ... keep the line moving ... you have a lot of people behind you,”
5    which combined with the floor surface and the floor surface covering which caused a
6    dangerous condition of public property which cause her to suddenly trip and fall at the
7    second TSA Checkpoint screening area, which constituted an unreasonably dangerous
8    condition of public property, a significant risk to the health and safety for those DIA
9    travelers expected to use the walkway and walking surface, including Guardado.
10            32.       Defendants’ Prior Notice, Knowledge of Dangerous Condition of
11   Public Property. Defendants DIA and TSA had prior notice of or in the exercise of
12   reasonable and ordinary care should have known of their floor, floor covering and
13   understaffing, mismanagement and untrained workforce was a dangerous condition of
14   public property. Defendant DIA should have remedy, repaired, removed or warned
15   travelers of their defective flooring and floor covering. Defendant TSA should have
16   had additional, properly managed, properly trained Security Officers at the TSA
17   Security Checkpoint screening area to properly address the high-volume of traveler
18   traffic that Sunday evening. Defendants did not. Defendant DIA’s failure to use
19   reasonable and ordinary care to remedy, repair, remove or warn travelers of the
20   defective floor and floor covering was a dangerous condition of public property.
21   Defendant TSA’s failure to use reasonable and ordinary care when they rushed
22   travelers through the Security Checkpoints was a dangerous condition of public
23   property. Defendants’ dangerous condition of public property substantially and
24   proximately caused those serious and permanent injuries sustained by Guardado.
25   Guardado is informed and believes the floor covering has since been remedy, repaired
26   and/or removed to prevent future DIA travelers from sustaining the same or
27   substantially similar fall incident sustained by Guardado.
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1             33.       Defendant CCD and DIA breached their duty of due care to their business
2    invitees, including Guardado, when they failed to construct, inspect, operate, supervise
3    and maintain the common walkway areas, walking surfaces areas and floor covering
4    located at and near the second TSA Security Checkpoint in a reasonably safe condition,
5    which was an unsafe and dangerous condition of public property, dangerous to
6    pedestrian travelers, including Guardado.
7             34.       Defendant TSA breached their duty of due care to their business invitees,
8    including Guardado when they failed to have adequate staffing, properly managed,
9    properly trained Security Officers who did not properly maintain crowd control, did not
10   properly process the huge volume of DIA travelers through their Security Checkpoints
11   in a reasonably safe condition which was an unsafe and dangerous condition of public
12   property, dangerous to travelers, including Guardado.
13            35.       Defendants knew or in the exercise of reasonable and ordinary care should
14   have known this TSA Security Checkpoint common walkway, walking surface and
15   floor covering was a dangerous condition of public property.
16            36.       Moreover, defendants failed to exercise reasonable care when that they did
17   not adequately staff, manage or train those who were responsible for maintaining the
18   common walkways in a reasonably safe condition.
19            37.       Defendants failed to exercise reasonable care when they failed to warn
20   pedestrian travelers, including Guardado, of the unsafe and hazardous conditions of the
21   common walkway, walking surface and floor covering at the second TSA Security
22   Checkpoint premises.
23            38.       Defendants’ breach of their duty of due care to their business invitees,
24   including Guardado, by their failure to construct, inspect, operate, supervise and
25   maintain the common walkway areas, walking surfaces and floor covering located at
26   and near the second TSA Security Checkpoint in a reasonably safe condition, failed to
27   warn of any hazards or defects, which was a direct and proximate cause of those serious
28   and permanent injuries sustained by Guardado as identified herein.

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1                                            SECOND CAUSE OF ACTION
2                                                  PREMISES LIABILITY
3                         DANGEROUS CONDITION OF PUBLIC PROPERTY
4                          (As Against Defendant City and County of Denver, Only)
5             39.       At all times relevant to the subject matter of this litigation, defendants City
6    and County of Denver, dba Denver International Airport, owned, constructed, operated,
7    supervised and maintained Denver International Airport, who was responsible for the
8    construction of the floor surface, the inspection, operation, supervision and
9    maintenance of the common walkway, walking surface and floor coverings located at
10   the second TSA Security Checkpoint, including the common walkway areas and
11   walking surfaces.
12            40.       Defendants remain liable to plaintiff Guardado because they had an
13   ownership interest in the DIA property, as well as the second TSA Security Checkpoint
14   common walkway area, walking surface and floor covering. Defendant had an
15   obligation to Guardado, a business invitee on the premises, where an invitee may
16   recover damages caused by the landowner’s unreasonable failure to exercise reasonable
17   care to protect against dangers of which were actually known or through the exercise of
18   reasonable care should have known.
19            41.       On August 8, 2021, defendant owed a duty to DIA travelers, including
20   Guardado, a business invitee on the premises, to: (a) reasonably construct, install,
21   inspect and maintain DIA’s terrazzo floor surface and floor surface covering at the
22   second TSA Checkpoint in a reasonably safe condition to avoid the risk of serious and
23   permanent injury to DIA travelers; (b) to inspect, operate, supervise and maintain the
24   DIA floor and floor covering(s) in a reasonably safe condition; (c) to reasonably
25   maintain and control DIA traveler traffic on the premises in a reasonable and safe
26   condition; (d) to warn business invitees of any: (i) defective floor surface; defective
27   floor covering, the improper construction, installation, inspection and maintenance of
28   the DIA common walkway area, walking surface and floor covering over the floor

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1    surface which presented an unreasonable risk of injury DIA travelers.
2             42.       At all times herein defendants CCD and DIA knew and/or in the exercise
3    of reasonable and ordinary care should have known of the dangerous condition of
4    public property which was not safe for business invitee’s use. Guardado was a business
5    invitee. The second TSA Security Checkpoint area’s negligently constructed, installed,
6    inspected and maintained floor surface, as well as the floor covering itself which
7    concealed any floor defects, was allowed to exist for a period of time for which
8    sufficient inspection would have reasonably disclosed.
9             43.       Each defendant, who acted through their agents and employees, was
10   negligent in its ownership, construction, installation, inspection, operation, supervision
11   and maintenance of the second TSA Security Checkpoint common walkway area, floor
12   surface and floor covering, which concealed the floor defect, where both the floor as
13   well as the floor covering created was a defective and dangerous condition of public
14   property which posed an unreasonable risk of injury to unsuspecting DIA travelers,
15   including Guardado, caused Guardado’s fall and resulting serious and permanent
16   injuries. Guardado is informed and believes the floor covering has since been remedy,
17   repaired and/or removed to prevent future DIA travelers from sustaining the same or
18   substantially similar fall incident sustained by Guardado.
19            44.       On August 8, 2021, defendants owed a duty of due care to their business
20   invitees, including Guardado, to maintain the Denver International Airport premises,
21   including the common walkway areas and walking surfaces located at and near the
22   second TSA Security Checkpoint, in a reasonably safe condition, without exposing
23   travelers, including Guardado to an unreasonable threat and hazard to the traveler’s
24   health and safety. Premises owner defendants cannot delegate this responsibility.
25            45.       Defendants breached their duty of due care to their business invitees,
26   including Guardado, when they failed to construct, install, inspect and maintain the
27   common walkway areas, walking surfaces and floor covering(s) at and near the second
28   TSA Security Checkpoint in a reasonably safe condition.

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1             46.       Defendants’ breach of their duty of due care to their business invitees,
2    including Guardado, by their failure to construction, install, inspect and maintain the
3    common walkway areas and walking surfaces located at and near the second TSA
4    Security Checkpoint in a reasonably safe condition was a direct and proximate cause of
5    Guardado’s serious and permanent injuries identified herein.
6                                                             DAMAGES
7                                                     (All Causes of Action)
8             47.       Guardado seeks economic and non-economic damages, including severe
9    and extreme emotional distress, which includes physical/emotional healthcare and
10   treatment, suffer severe and extreme emotional distress, worry, humiliation, mental
11   anguish, anxiety, loss of enjoyment of life, loss of income and future earning capacity,
12   past and future, as well as attorney’s fees to the extent permitted by law, damages in
13   excess of the minimal jurisdiction limits of the County and/or United States District
14   Court, the full nature and extent according to proof at trial.
15                                                              PRAYER
16            Wherefore, plaintiff Ana Guardado prays for judgment as follows:
17            48.       For economic and noneconomic damages, past and future;
18            49.       For attorney’s fees and costs, to the extent permitted by law
19            50.       For prejudgment interest, to the extent permitted by law;
20            51.       For such other and further relief as this Court may deem just and proper.
21

22   Dated: August 5, 2022                                               CWIKLO LAW FIRM
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26                                                                       DAVID PETER CWIKLO
                                                                         Attorneys for Plaintiff
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                                                                         ANA GUARDADO
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1                                             DEMAND FOR JURY TRIAL
2                    Plaintiff Ana Guardado hereby demands her case to tried to a jury.
3

4    Dated: August 5, 2022                                               CWIKLO LAW FIRM
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8                                                                        DAVID PETER CWIKLO
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                                                                         Attorneys for Plaintiff
                                                                         ANA GUARDADO
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